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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 20-cr-20266-HUCK/BECERRA

  UNITED STATES OF AMERICA,

  v.

  KEITH MAURICE EDWARDS, JR.,

        Defendant.
  _____________________________________/

               REPORT AND RECOMMENDATION ON CHANGE OF PLEA

         THIS CAUSE was before the Court following an Order of Reference to conduct a

  proceeding for acceptance of a guilty plea by Defendant in this case. ECF No. [66]. Based upon

  the change of plea hearing conducted on April 23, 2021, this Court makes the following findings,

  and recommends that the guilty plea be accepted.

         1.     As an initial matter, the Court advised Defendant of his right to appear at the plea

  hearing in person. Defendant waived his right to appear in person. Defendant, Defendant’s

  attorney, and the Assistant United States Attorney all consented to proceed by videoconference.

  Counsel concurred that holding the change of plea now, rather than delaying it until all could

  appear before the Court in person, was important because they had reached a resolution to this

  prosecution and they did not want to further delay the matter. Pursuant to the Administrative

  Orders of this Court, specifically, including, 2020-76, 2020-53, 2020-41, 2020-33, 2020-24, 2020-

  21, 2020-18, 2020-23, 2021-12, and 2021-33 the Court found that Defendant’s guilty plea could

  not be further delayed without serious harm to the interests of justice, and the hearing was

  conducted by videoconference.

         2.     This Court advised Defendant of his right to have these proceedings conducted by

  the District Judge assigned to the case, and that this Court was conducting the change of plea


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  hearing pursuant to an Order of Reference from the District Court. This Court further advised

  Defendant that the District Judge assigned to this case would be the sentencing judge and would

  make all findings and rulings concerning Defendant’s sentence. This Court advised Defendant

  that he did not have to permit the undersigned United States Magistrate Judge to conduct this

  hearing and could request that the change of plea hearing be conducted by the District Judge

  assigned to the case. Defendant, Defendant’s attorney, and the Assistant United States Attorney

  all consented on the record to this Court conducting the change of plea hearing.

          3.      This Court conducted a plea colloquy in accordance with the outline set forth in the

  Bench Book for District Judges, and in accordance with Fed. R. Crim. P. 11.

          4.      Defendant pled guilty to Count VII of the Indictment which charged Defendant

  with conspiracy to distribute, in violation of Title 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(B)(ii). The

  Court advised Defendant that as to that charge there is a mandatory minimum sentence of five

  years, unless Defendant is safety valve eligible; a maximum sentence of up to forty years

  imprisonment, followed by a term of supervised release of at least four years and up to life; a fine

  of up to $5,000,000.00; and a mandatory special assessment of $100.00. Defendant acknowledged

  that he understood the possible maximum penalties that could be imposed in the case, including

  the possibility of forfeiture.

          5.      To set forth the factual basis for the entry of the plea, Defendant and the

  Government submitted a written Factual Proffer.          The Factual Proffer, also read by the

  Government at the hearing, established all the essential elements of the crime to which Defendant

  is pleading guilty. Defendant acknowledged that the Factual Proffer was accurate.

          6.      There is a written plea agreement which has been entered into by the parties in this

  case. This Court reviewed that plea agreement on the record and Defendant acknowledged that he

  understood the terms of the plea agreement and that he had signed the plea agreement.

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         7.      Based upon all of the foregoing and the plea colloquy conducted by this Court, the

  undersigned finds that Defendant is fully competent and capable of entering an informed plea, that

  Defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

  of guilty is a knowing and voluntary plea supported by an independent basis in fact containing

  each of the essential elements of the offense.

         8.      Therefore, the undersigned recommends that Defendant be found to have freely and

  voluntarily entered his guilty plea to Count VII of the Indictment filed in this case, as more

  particularly described herein, and that Defendant be adjudicated guilty of that offense.

         9.      A pre-sentence investigation report is being prepared for the District Court by the

  United States Probation Office.

         RECOMMENDED that Defendant’s plea of guilty be accepted, that Defendant be

  adjudicated guilty of the offense to which he has entered his plea of guilty and that a sentencing

  hearing be conducted for final disposition of this matter.

         The parties will have fourteen calendar days from the date of service of this Report and

  Recommendation within which to file written objections, if any, for consideration by the United

  States District Judge.

         Any request for an extension of this deadline must be made within seven calendar days

  from the date of this Report and Recommendation. Pursuant to Fed. R. Crim. P. 59(b), Eleventh

  Circuit Rule 3-1, and accompanying Internal Operating Procedure 3, the parties are hereby notified

  that failure to object in accordance with 28 U.S.C. § 636(b)(1) waives the right to challenge on

  appeal the District Court’s order based on unobjected-to factual and legal conclusions. See Thomas

  v. Arn, 474 U.S. 140 (1985).




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       DONE AND SUBMITTED in Chambers at Miami, Florida, this 5th day of May, 2021.



                                              _________________________
                                              JACQUELINE BECERRA
                                              United States Magistrate Judge




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